Case 5:17-cv-01008-FB-HJB Document 1-1 Filed 10/09/17 Page 1 of 20




                 Exhibit A
                   Case 5:17-cv-01008-FB-HJB Document 1-1 Filed 10/09/17 Page 2 of 20




                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 17148907
Notice of Service of Process                                                                            Date Processed: 09/18/2017

Primary Contact:           Service Process Team 3-11-309
                           Nationwide Mutual Insurance Company
                           Three Nationwide Plaza
                           Columbus, OH 43215

Electronic copy provided to:                   Kevin Jones
                                               Joshua Schonauer
                                               Cassandra Struble

Entity:                                       Allied Property And Casualty Insurance Company
                                              Entity ID Number 0129900
Entity Served:                                Allied Property & Casualty Insurance Company
Title of Action:                              2012 Busy Bees Corporation; Star Wholesale, Inc. vs. Allied Property & Casualty
                                              Insurance Company; David K. Kaapro
Document(s) Type:                             Citation/Petition
Nature of Action:                             Contract
Court/Agency:                                 Bexar County District Court, Texas
Case/Reference No:                            2017CI6729
Jurisdiction Served:                          Texas
Date Served on CSC:                           09/18/2017
Answer or Appearance Due:                     10:00 am Monday next following the expiration of 20 days after service
Originally Served On:                         CSC
How Served:                                   Certified Mail
Sender Information:                           Whyte PLLC
                                              N/A

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
                        Case 5:17-cv-01008-FB-HJB Document 1-1 Filed 10/09/17 Page 3 of 20
CERTIFIED MAIL #70162070000075207741
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                                                                                                      2017cl16729 s0000l
                                                              Case NUmber: 2017-CI-16729
2012 BUSY BEES CORPORATION ET AL

       vs.                                                                                                 IN THE DISTRICT COURT
                                                                                                            45th JUDICIAL DISTRICT
ALLIED PROPERTY & CASUALTY INSURANCE CO                                                                    BEXAR COUNTY,TEXAS
(Note: Attached document may contain additional litigants).
                                                                        CITATION


"THE STATE OF TEXAS"
DIRECTED T0:                    ALLIED PROPERTY & CASUALTY INSURANCE COMPANY


                                BY SERVING ITS REGISTERED AGENT, CORPORATION SERVICE COMPANY
                                211 E 7TH STREET 620
                                AUSTIN TX 78701-3218


"You have been sued. You may employ an attomey. If you or your attomey do not file a written answer with the clerk who issued this citation by
10:00 a.m. on the Monday next following the expiration of twenty days after you were served. this. CITATION and ORIGINAL PETITION , a default
judgment may be taken against you." Said CITATION with ORIGINAL PETITION was filed on the 31st day of August, 2017.




ISSUED UNDER MY HAND AND SEAL OF SAID COURT ON THIS 13TH DAY OF September A.D., 2017.



MARC K WHYTE                                                                °`"EN^R~       Donna Kay W-Kinney
ATTORNEY FOR PLAINTIFF                                                    ~°~       fJ~~ Bexar County District Clerk
1045 CHEEVER BLVD 103                                                                      101 W. Nueva, Suite 217
SAN ANTONIO, TX 78217-6339                                                ;            d San Antonio, Texas 78205

                                                                                           By :   Edgar C'j arcia, Deputy
2012 BUSY BEES CORPORATION ET AL                                                                     Case Number: 2017-CI-16729
vs
                                                                      Officer's Return               Court: 45th Judicial District Court
ALLIED PROPERTY & CASUALTY INSURANCE CO



Came to hand on the 13th day of September 2017, A.D., at 8:33 o'clock A.M. and EXECUTED (NOT EXECUTED) by CERTIFIED MAIL, on the
        day of                 20     , by deilvering to:                                                       at 211 E 7TH STREET 620
AUSTIN TX 78701-3218 a true copy of this Citation, upon which I endorsed that date of delivery, together with the accompanying copy of the
CITATION with ORIGINAL PETITION .

Cause of failure to execute this Citation is




                                                                                           Danna Kay W-Kinney
                                                                                           Clerk of the District Courts of
                                                                                           -Bexar County, TX
                                                                                           By : Edgar_Garcia, Deputy


                                                                                                               ORIGINAL (DK003)
                      Case 5:17-cv-01008-FB-HJB Document 1-1 Filed 10/09/17 Page 4 of 20
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                                                            Case Number: 2017-CI-16729
2012 BUSY BEES CORPORATION ET AL
                                                                                                            IN THE DISTRICT COURT
       vs.
                                                                                                             45th JUDICIAL DISTRICT
ALLIED PROPERTY & CASUALTY INSURANCE CO                                                                     BEXAR COUNTY, TEXAS
(Note Attached document may contain addillonalli!lganls).
                                                                      CITATION

"THE STATE OF TEXAS"
DIRECTED TO:                  DAVID K KAAPRO



                              5525 PARK CENTER CIRCLE CO 04 01
                              DUBLIN OH 43017

"You have been sued. You may employ an attorney. If you or your attorney do not file a written answer with the clerk who issued this citation by
 10:00 a.m. on the Monday next following the expiration of twenty days after you were served this CITATION and ORIGINAL PETITION, a default
judgment may be taken against you." Said CITATION with ORIGINAL PETITION was filed on the 31st day of August, 2017.




ISSUED UNDER MY HAND AND SEAL OF SAID COURT ON THIS 13TH DAY OF September AD., 2017.



MARC K WHYTE                                                                               Donna Kay         M~Kinney
ATTORNEY FOR PLAINTIFF                                                                      Bexar County District Clerk
1045 CHEEVER BLVD 103                                                                       101 W. Nueva, Suite 217
SAN ANTONIO, TX 78217-6339                                                                  San Antonio, Texas 78205

                                                                                            By:   r£agar garcia,        Deputy

2012 BUSY BEES CORPORATION ET AL                                     Officer's Return                Case Number: 2017-CI-16729
vs                                                                                                   Court: 45th Judicial District Court
ALLIED PROPERTY & CASUALTY INSURANCE CO


Carne to hand on the 13th day of September 2017, AD., at 8:37 o'clock AM. and EXECUTED (NOT EXECUTED) by CERTIFIED MAIL, on the
___ day of _____ 20 _ _ , by deilvering to:                                                                        at 5525 PARKCENTER
CIRCLE CO 04 01 DUBL.IN OH 43017 a true copy of this Citation, upon which I endorsed that date of delivery, together with the accompanying
copy of the CITATION with ORIGINAL PETITION.

Cause of failure to execute this Citation is




                                                                                            Donna Kay         M~Kinney
                                                                                            Clerk of the District Courts of
                                                                                            Bexar County, TX
                                                                                            By:   IF.dgar garcia    1   Deputy



                                                                                                                   ORIGINAL (DK003)
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FILED
                        Case 5:17-cv-01008-FB-HJB Document 1-1 Filed 10/09/17 Page 5 of 20
8/31/2017 4:03 PM
Donna Kay McKinney                                                                     2CITBYCML W/JD SAC1
Bexar County District Clerk
Accepted By- Maria Abilez
                                                                 2017C116729
                                                   CAUSE NO.

                  2012 BUSY BEES CORPORATION and, ;                    §               IN THE DISTRICT COURT
                  STAR WHOLESALE, INC.                                 §
                        Plaintiff                                      §
                                                                       §              45TH
                  VS.                                                  §                     JUDICIAL DISTRICT
                                                                       §
                  ALLIED PROPERTY & CASUALTY                           §
                  INSURANCE COMPANY and                                §
                  DAVID K. KAAPRO                                      §               BEXAR COUNTY, TEXAS
                       Defendants

                                              PLAINTIFF'S ORIGINAL PETITION


                  TO THE HONORABLE JUDGE OF SAID COURT:

                          2012 BUSY BEES CORPORATION and STAR WHOLESALE, INC., Plaintiffherein,

                  files this Original Petition against Defendants ALLIED PROPERTY & CASUALTY

                  INSURANCE COMPANY ("ALLIED") and DAVID K. KAAPRO ("KAAPRO") and, in support

                  of Plaintiff's causes of action, would respectfully show the Court the following:


                                                          I. THE PARTIES

                          1.     Plaintiff is a Texas resident who resides and conducts business in BEXAR County,

                  Texas. Said property is located at: 4831 West Ave., San Antonio, Texas 78213.


                          2.     ALLIED PROPERTY & CASUALTY INSURANCE COMPANY is a foreign

                  corporation, authorized to engage in the insurance business in the State of Texas, and who issued a

                  policy of insurance to Plaintiff named above. The Defendant may be served by serving its registered

                  agent: Corporation Service Company, 211 East 7t' Street, Suite 620, Austin, Texas 78701-3218.

                  Service is requested by certified mail, return receipt requested at this time.
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        3.      Defendant, DAVID K. KAAPRO, is a licensed insurance adjuster practicing in the

State of Texas, and may be served with process of service by certified mail, return receipt requested,

at: DAVID K. KAAPRO, 5525 Parkcenter Circle CO 04 01, Dublin, OH 43017.


                                          II. DISCOVERY

        4.      This case is intended to be governed by Discovery Level 3.


                                    III. CLAIM FOR RELIEF

        5.      As required by Rule 47(b), Texas Rules of Civil Procedure, Plaintiffls counsel

states the damages sought are in an amount within the jurisdictional limits of this Court. As

required by Rule 47(c), Texas Rules of Civil Procedure, Plaintiffls counsel states that Plaintiff is

seeking monetary relief over $200,000 but not more than $1,000,000, including damages of any

kind, penalties, costs, expenses, prejudgment interest, and attorney's fees. A jury, however, will

ultimately determine the amount of monetary relief actually awarded. Plaintiff also seeks pre-

judgment and post judgment interest at the highest legal rate.


                               IV. JURISDICTION AND VENUE

        6.      This court has subject matter jurisdiction of this cause of action because it

involves an amount in controversy in excess of the minimum jurisdictional limits of this Court.

No diversity of citizenship exists in this matter.

        7.      Venue is proper in BEXAR County under Tex. Civ. Prac. & Rem. Code

§15.002(a)(1) because all or a substantial part of the events or omissions giving rise to the claim

occurred in said County. In particular, the loss at issue occurred in this County.
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                                V. FACTUAL BACKGROUND

          8.    Plaintiff is.a named insured under a commercial property insurance policy

issued by ALLIED PROPERTY & CASUALTY INSURANCE COMPANY..

          9.    On or about APRIL 12, 2016, a storm hit the BEXAR County area, damaging

Plaintiffls commercial property. Plaintiff subsequently filed a claim on Plaintiffls insurance

policy.

          10.   Defendants improperly undervalued the claim. Defendants did this by

undervaluing the hail/wind damage that was evident on the property.

          11.   DAVID K. KAAPRO was assigned as an individual adjuster on the claim,

conducted a substandard investigation and inspection of the property on June 15, 2016, and

prepared a report that failed to include all of the damages that he noted during the inspection,

and undervalued the damages he observed during the inspection.

          12.   DAVID K. KAAPRO's unreasonable investigation led to the denial of Plaintiffls

claim.

          13.   Moreover, ALLIED and KAAPRO performed an outcome-oriented investigation

of Plaintiff's claim, which resulted in a biased, unfair and inequitable evaluation of Plaintiffs

losses on the property.

          14.   Plaintiff requested that Defendant ALLIED cover the cost of repairs to the Property

pursuant to the Policy, including but not limited to: repair and/or replacement of the roof and

repair of exterior damages to the Property, as well as damage sustained to the HVAC system.


                                   VI. CAUSES OF ACTION

          15.   Each of the foregoing paragraphs is incorporated by reference in the following:

 I.       Breach of Contract (ALLIED PROPERTY & CASUALTY INSURANCE
          COMPANY Only)

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        16.    ALLIED PROPERTY & CASUALTY INSURANCE COMPANY had a contract

of insurance with Plaintiff. ALLIED breached the terms of that contract by wrongfully

undervaluing the claim and Plaintiff was damaged thereby.

        17.    As a result of KAAPRO's material misrepresentation, ALLIED wrongfully

underpaid Plaintiff's claim even though the Plaintiff had a policy to protect the property.

Consequently, ALLIED breached the terms of the contract when it undervalued the claim to the

detriment of the Plaintiff.

        18.    To date, Defendant ALLIED continues to delay in the payment for the damages to

the Property. As such, Plaintiffs have not been paid in full for the damages to their Property.

        19.     Defendant ALLIED failed to perform its contractual duties to adequately

compensate Plaintiffs under the terms of the Policy. Specifically, it refused to pay the full

proceeds of the Policy, although due demand was made for proceeds to be paid in an amount

sufficient to cover the damaged Property, and all conditions precedent to recovery upon the

Policy had been carried out and accomplished by Plaintiffs. Defendant ALLIED's conduct

constitutes a breach of the insurance contract between ALLIED and Plaintiff.

II. Prompt Payment of Claims Statute (ALLIED PROPERTY & CASUALTY

        INSURANCE COMPANY Only)

        20.    The failure of ALLIED to pay for the losses and/or to follow the statutory time

guidelines for accepting or denying coverage constitutes a violation of Article 542.051 et seq. of

the Texas Insurance Code.

        21.    Plaintiff, therefore, in addition to Plaintiff's claim for damages, is entitled to 18%

interest and attorneys' fees as set forth in Article 542.060 of the Texas Insurance Code.

        22.    Failing to acknowledge or investigate the claim or to request from Plaintiff all items,


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statements, and forms ALLIED reasonably believed would be required within the time constraints

provided by Tex. Ins. Code § 542.055; Failing to notify Plaintiff in writing of its acceptance or

rejection of the Claim within the applicable time constraints provided by Tex. Ins. Code § 542.056;

and/or Delaying payment of the Claim following ALLIED's receipt of all items, statements, and

forms reasonably requested and required, longer than the amount of time provided by Tex. Ins.

Code § 542.058.

         23.   Specifically, the damage to Plaintiff's commercial property occurred as a result of

a wind/hail storm that occurred on APRIL 12, 2016. Accordingly, it has been well over sixty (60)

days since the date the damage occurred to the PlaintifPs commercial property (in accordance with

Article 542.058 of the Texas Insurance Code), which, in turn, causes the Plaintiff to be entitled to

18% interest and attorneys' fees as set forth in Article 542.060 of the Texas Insurance Code.

III. Unfair Settlement Practices / Bad Faith (ALLIED PROPERTY & CASUALTY
      INSURANCE COMPANY and DAVID K. KAAPRO)

         A.    Actionable Conduct of Defendant (ALLIED PROPERTY & CASUALTY
               INSURANCE COIVIPANY.)

         24.   Defendants are required to comply with Chapter 541 of the Texas Insurance

 Code.

         25.   Defendants violated § 541.051 of the Texas Insurance Code by:

               (1)     making statements misrepresenting the terms and/or benefits ofthe policy.

         26.   Defendants violated § 541.060 by:

               (1)     misrepresenting to Plaintiff a material fact or policy provision relating to

coverage at issue;

               (2)     failing to attempt in good faith to effectuate a prompt, fair, and equitable

settlement of a claim with respect to which the insurer's liability had become reasonably clear;
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                (3)     failing to promptly provide to Plaintiff a reasonable explanation of the

basis in the policy, in relation to the facts or applicable law, for the insurer's denial of a claim or

offer of a compromise settlement of a claim;
                                                                                             ~
                (4)     failing within a reasonable time to affinn or deny coverage of a claim to

Plaintiff or submit a reservation of rights to Plaintiff; and

                (5)     refusing to pay the claim without conducting a reasonable investigation

with respect to the claim;

        27.      Defendants violated § 541.061 by:

                (1)     making an untrue statement of material fact;

                (2)     failing to state a material fact necessary to make other statements made not

misleading considering the circumstances under which the statements were made;

                (3      making a statement in a manner that would mislead a reasonably prudent

person to a false conclusion of a material fact;

                (4)     making a material misstatement of law; and

                (5)     failing to disclose a matter required by law to be disclosed.

        28.     At all material times hereto, Plaintiff was a consumer who purchased insurance

products and services from Defendants.

        B.      Actionable Conduct of Defendant (DAVID K. KAAPRO)

        29.     Defendant KAAPRO, as a contractor and/or adjuster assigned by ALLIED to assist

with adjusting the Claim. With regard to the adjuster Defendant named herein, Plaintiff alleges

said adjuster made specific misrepresentations in violation of the Texas Insurance Code, §541.002,

§541.060, §541.061 and §541.003, to include, but not limited to misrepresenting the scope of

damages caused by the covered wind/hail peril. Said Defendant adjuster also misrepresented the


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true cost of repairing all of the damages caused by the storm, such as damages to the structure, the

roof, the exterior of the building and other extra expenses associated with damage caused by a

wind/hail storm. Consequently, Defendant significantly underpaid the claim to the detriment of

the insured. The named Defendant adjuster acted with actual awareness that said Defendant

adjuster was misrepresenting the true scope and cost of repair in the estimate the Defendant

adjuster prepared. Therefore, as an "Adjuster", the Defendant adjuster meets the definition of

"person" under §541.002, and therefore liable under §541.003 et seq. of the Texas Insurance Code.

The Defendant adjuster misled Plaintiff. The acts and omissions of the Defendant adjuster violate

541 and §542 of the Texas Insurance Code, for which Plaintiff seeks damages.


       30.     KAAPRO's adjustment of the claim fraudulently, wrongfully, deceptively and

negligently undervalued the cost of repair and/or replacement of covered items of damage to the

insured Property in the claim report. This resulted in Plaintiffs receiving inadequate funds from

ALLIED to cover the losses sustained by Plaintiffs to repair and/or replace the insured Property

damaged by the Storm, excluding the amounts of the deductible and non-recoverable depreciation

assessed pursuant to the terms and conditions of the Policy for which Plaintiffs were responsible.


       31.     Defendant KAAPRO conducted a substandard and incomplete inspection of

Plaintiffs' Property. Plaintiffs' damages were noted in an inaccurate report and/or estimate of

Plaintiffs' Storm damages, dated May 15, 2016, which failed to include many of the damages

noted upon inspection and grossly underestimated and undervalued those damages that were

included.


       32.     Further, the above named adjuster in this litigation committed various acts and

omissions violative of the Texas Insurance Code to include performing an incomplete visual



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inspection of the property, and failing to inspect all affected areas; said named adjuster

undervalued damages and failed to allow for adequate funds to cover the costs of repairs, and set

out to deny properly covered damages. These actions on the part of this named adjuster resulted

in a denial of payment to the Plaintiff, as well as delay in Plaintiffls ability to fully repair the

insured property and business. The above-named adjuster in this suit conducted an outcome-

oriented investigation designed to minimize the Plaintiffls claim, and failed to promptly provide
                                                               1


the Plaintiff with a reasonable explanation of the basis of the policy in relation to the facts or

applicable law, for the claim decision. The named adjuster's actions constitute unfair method of

competition and an unfair or deceptive act in the business of insurance.


        33.    As a result of KAAPRO's material misrepresentation, ALLIED wrongfully

undervalued Plaintiffls claim even though the Plaintiff had a policy to protect the property.

Consequently, ALLIED breached the terms of the contract when it undervalued the claim to the

detriment of the Plaintiff.


        34.    KAAPRO failed to and/or refused to properly interview the Plaintiff to ascertain

other damages that were not readily apparent or would not be readily apparent to an individual

unfamiliar with the Property in its pre-Storm condition.


IV.     Breach of Duty of Good Faith and Fair Dealing Against ALLIED PROPERTY &

        CASUALTY INSURANCE COMPANY.


        35.    Defendant, ALLIED, breached the common law duty of good faith and fair dealing

owed to Plaintiff by denying or delaying payment on the Claim when ALLIED knew or should

have known liability was reasonably clear. Defendant, ALLIED is therefore liable to Plaintiff.


        36.    The mishandling of Plaintiffs' claim has also caused a delay in the ability to fully
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repair the Property, which has resulted in additional damages. To date, Plaintiffs have yet to

receive the full payment to which they are entitled under the Policy and have not been able to fully

repair or replace the damage to the insured Property.


V.        Attorneys' Fees


          37.   Plaintiff engaged the undersigned attorney to prosecute this lawsuit against

Defendants and agreed to pay reasonable attorneys' fees and expenses through trial and any

appeal.

          38.   Plaintiff is entitled to reasonable and necessary attorney's fees pursuant to TEX.

CIV. PRAC. & REM. CODE §§ 38.001-38.003 because Plaintiff is represented by an attorney,

presented the claim to Defendants, and Defendants did not tender the just amount owed before

the expiration of the 30th day after the claim was presented.

          39.   Plaintiff further prays that it be awarded all reasonable attorneys' fees incurred in

prosecuting its causes of action through trial and any appeal pursuant to Sections 541.152

542.060 of the Texas Insurance Code.

                               VII. CONDITIONS PRECEDENT

          40.   All conditions precedent to Plaintiff s right to recover have been fully performed,

or have been waived by Defendants.

                                    VIII. DEMAND FOR JURY

          41.   Pursuant to Rule 216 of the Texas Rules of Civil Procedure, Plaintiff herein

requests a jury trial and along with the filing of the Original Petition has tendered to the Clerk of

the Court the statutory jury fee.

                                           IX. PRAYER

          WHEREFORE, PREMISES CONSIDERED, Plaintiff herein prays that, upon final hearing
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of the case, Plaintiff recover all damages from and against Defendants that may reasonably be

established by a preponderance of the evidence, and that Plaintiff be awarded attorneys' fees
      n
through trial and appeal, costs of court, pre judgment interest, post judgment interest, and such

other and further relief, general or special, at law or in equity, to which Plaintiff may show it be

justly entitled.


                                              Respectfully submitted,

                                              WHYTE PLLC
                                              1045 Cheever Blvd., Suite 103
                                              San Antonio, Texas 78217
                                              Telephone: (210) 562-2888
                                              Telecopier: (210) 562-2873
                                              Email: mwhyte@whytepllc.com
                                              Email: jsaenz@whytepllc.com



                                      BY..                              ~
                                                        ~                                          ~
                                                  RC K. WHYTE
                                              State Bar No. 24056526

                                              ATTORNEY FOR PLAINTIFF




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          Exhib'iot A
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    IN RE:                                             §        IN THE DISTRICT Ct)ITRT OF
•                                                      1
    BEXAR H. A I L                                     §
                                                       §        BEXAR COUNTY, TEXAS
    COMMERCIAL                                         §
                                                       §
    CLAIM LITIGATION                                   §        CIVIL JUDICIAL DISTRICT COURTS

                            STANDING PRETRIAL ORDER CONCERNING
                           I3EXAR COUNTY COMMERCIAL HAIL CI.AIMS

    This order applies to pretrial matters in commercial property insurance cases fited in the District Courts of
    $exar County, Texas that involve insurance disputes arising frt►m the hail storms occurring in Bexar
    County in April and May of 2016. The purpose of this order is to expedite pretrial matters, discovery and
    mediation in order to minimize court costs and liti$ation expenses.

    This order shall be posted on the Bexar County District Clerlc website and shall be attached to the
    Original'Petition ofapplicable cases. All attorneys and parties should endeavor to notify others about this
    order.

    Aarties sceking to be exeused from any part of this order must set a hearing and request relief from the
    court.

    AUTON[ATIC ABATEMENT — The filing of an orig,inal answer by the commercial insurance carrier
    shall trigger an immediate and automatic abatement. The case shall remain abated until 30 days after a
    mediation impasse.

    The abatement period will apply to all court ordered deadlines and Ru1e 190 discovery deadlines. The
    abatement peritxi will not apply to the deadlines in this order or to any statutory deadline, interest or
    penalties that may apply under any statutory code or lar.v. The parties may send written discovery during
    the abatement time period, however, the responses and objections to those discovery requests wil) not be
    due until 30 days after the end ofthe abatement period.

    MEDIATION — The parties shall agree to a mediator and to a mediation date. An Agreed Mediation
    Order, in the form attached, shall be filed with the court within 124 days after the answer is filed.

    Within 15 days of an unsuccessful mediation, the parties will submit a proposed Agreed 5cheduling
    Order to the court.

    DlSCOVERY — Within 120 days of the filiug of an answer by the commercial insurance carrier, the
    parties will use their best efforts to exchange information and documentation peertaining to the commercial
    properry, including the following: expert reports, engineering reports, estimates of damage or repairs;
    contents lists for contents damage claim(s); photographs; repair receipts or invoices; the non-privileged
    portions of the commercial insurance carrier and adjusting company's claims file (including all claim
    diary notes, activity logs, loss notes and email correspondence regarding the insurance claim); payment
    ledger, payment log andlor proof of payment from the insurance carrier; a copy of the insurance policy in
    effect at the time of the respective storm claim(s); and the non-privileged portions of the underwriting
    file. lf the insurance carrier is not in possession of the adjusting cotnpany'sladjuster's claims file, and ttte
    ad,justing companyladjuster is not named as a party in the lawsuit and represented by separate counsel,
    then the insurance carrier shail seek. the adjusting company's claims fle and use their best efforts to
    exchange this information within the 124 day time period. The insurance carrier is also ordered to notify
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the independent adjusting company that alt emails, activity nfltes and loss diary notes pertaitting to the
hail storm claim in litigation shall be preserved and not destroyed. Finally, a privilege log will also be
produced in accordance wit#t the Texas Rules oPCivil Procedure for any redactions or privileges asserted.
W'ithin 180 days of the f ling of an answer by the comrnercial insurance carrier, the parties witl use their
best efforts to exchangee accounting and fnancial documentation and other information pertaining to any
ciairns for business interruption, loss of business income, lost profits, inventory or food loss (provide list
with values), lost business expense, accounts receivable artd any other business loss clairo.

Any expert reports, engineering reports, contractflr estimates or any other estimates of damages or repairs
obtained pursuant to this order for settlernent, demand, or mediation purposes and exchanged prior to
mediatican shall be for rnediation purposes only and shall be consideted confidential, except that any
estimates andior reports that are part o#'the claims file, which-were obtained or prepared during the claitns
handling, shall not be considered confidential under this paragraph. Nowever, if a consultant, whose
report is produced for mediation, is designated as a retained testifying expert and does not produce a
subsequent report for use at trial, the mediation report shall not remain confideatial.

Confidential reports and estimates are only confidential for the lawsuit in which they are being used.
Confdential eYpert reports designated for mediation purposes shali be returned to the providing party
within 14 days of a written request. Such tcsports shall not be discoverable or admissible at trial or any
hearing. !f the party procuring the report designates the expert to testify, such party shall have the right to
prevent discovery or testimony by the expert regarding the mediation report and any opinions therein,
provided that a subsequent report is produced. The procuring party may use data such as measurements
and photographs without vvaiving this privilege. Nothing herein shall prohibit the use of those reports
and estimates in any subsequent insurance claims or lawsuits involving the satne commercial
insurance carrier.

{)nce a mediation date and mediator are agreed to by a1l parties, the commercial insurance carrier
shall be permitted to inspect the property invotved in the lawsuit (as soon as practicable) prior to
mediation. tf inediation is unsuccessful, the commercial insurance carrier and other defendants may
re-inspect the property with the same, new or additional experts pursuant to the Texas Rules of Civil
Procedure.


         5igned on November 30, 2t}16




         Michael Mery, Judge                                 tephani alsh, Judge
         37'h District Court                               450' District Court




         Antoma Arteaga, Judge                              David A. Canales, Judge
         57"' District Court                                73"d District Court




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     a                                     AGREED MEDIATION ORDER



         Pursuant to the Standing Pretrial Order Conceming Bcxar County Commercial Nail Clairns, the
         parties agree to the following mediation date and mediator:

         Date:


         Mediator:

         The court, hereby, approves and orders the above date and mediator as agreed by the parties.

         Each side shall pay an equal portion of the mediation fee.

         All parties must have in attendance a representative with full authority to enter into a final settlement
         agreernent. The following shall be personally in attendance at the mediation until cxcused by the
         mediator:

                 1.      An attorney of record for each party, uniess the party is self-represented.

                 2.      A11 individual parties, either ptaintiff or defendant, except that individual defendant
                         adjusters and insurer employee defendants are not ordered to attend so long as a
                         representative with full authority to negotiate and settle on their behatf is present.

                 3.      A representative of each non-individual party, unless the parties agree otherwise in
                         writing.


                  Signed and entered on                                        , 2016.




                                                                 Judge Presiding




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